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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT

GARRETT SITTS, et al.,

PLAINTIFFS,
                                                    Civil Action No. 2:16-cv-00287-cr
v.

DAIRY FARMERS OF AMERICA, INC.,
and DAIRY MARKETING SERVICES,
LLC,

DEFENDANTS.


                                 PLAINTIFF’S WITNESS LIST

       The following is a list of witnesses that Plaintiffs may call at trial.

Plaintiffs

1.     Thomas Clark

2.     Mark Dulkis

3.     Rich Gantner

4.     Cindy Gieger

5.     Scott Hymers

6.     John Lamport

7.     Russell Maxwell

8.     Michael Nissly

9.     Donald Smith

10.    Eric Visser

DFA/DMS Executives

11.    Alan Bernon (video deposition)

12.    Patricia Bikowsky (video deposition)
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13.      Gary Hanman (video deposition)

14.      Brad Keating

15.      James Kelleher (video deposition)

16.      Sharad Mathur (video deposition)

17.      Richard Smith

18.      Gregory Wickham

Third Parties

19.      Jay Bryant (video deposition)

20.      Thomas Gates (video deposition)

21.      Evan Kinser (video deposition)

22.      Allen Meyer (read-in deposition)

23.      Tracy Noll (read-in deposition)

24.      Merrill Reynolds (video deposition)

25.      William Jason Swallow (video deposition)

26.      Michael Suever (video deposition)

27.      Robert Stoddart (video deposition)

Expert

28.      Einer Elhauge

         Additionally, Plaintiffs reserve the right to call any witness: (a) necessary to authenticate

documents or otherwise move them into evidence; (b) necessary for impeachment; (c) necessary

for rebuttal; or (d) identified by Defendants.




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                                                  Respectfully Submitted,

                                                  PLAINTIFFS,

                                                  By their attorneys,

                                                   /s/ Dana A. Zakarian
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 Dated: June 17, 2020                             Admitted Pro Hac Vice

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                                 CERTIFICATE OF SERVICE

        I, Dana A. Zakarian, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on this 17th
day of June 2020.

                                                /s/ Dana A. Zakarian
                                               Dana A. Zakarian




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